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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

Jason J. Kilborn,                                 )
                          Plaintiff,              )
       v.                                         )
Michael Amiridis, Caryn A. Bills,                 )        No
Julie M. Spanbauer, Donald Kamm, and              )
Ashley Davidson,                                      ) Plaintiff Demands Trial by Jury
                                                  )
                            Defendants.           )

                                      COMPLAINT

      Plaintiff Jason J. Kilborn brings this action under 42 USC § 1983 and the First, Fifth,

and Fourteenth Amendments to the United States Constitution and other laws

against Defendants Michael Amiridis, Caryn A. Bills, Julie M. Spanbauer, Donald

Kamm, and Ashley Davidson, in both their official and personal capacities, for

injunctive, declaratory, compensatory, and punitive relief, and alleges as follows:

                           JURISDICTION AND VENUE

1.    This action arises under the First, Fifth, and Fourteenth Amendments to the

      United States Constitution and is brought pursuant 42 U.S.C. §§ 1983 and

      1988.

2.    The Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331, 1343, and

      1367.

3.    Venue is proper under 28 U.S.C. § 1391 because the events giving rise to the

      claims occurred in the Northern District of Illinois.
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                                       PARTIES

4.     Plaintiff, Jason J. Kilborn, resides in this district and is a tenured full

       Professor of Law at the UIC School of Law.

5.     Defendants are all employees of the University of Illinois, a public university

       organized and existing under the laws of the State of Illinois. with multiple

       campuses, including the one relevant here in Chicago, The University is

       governed by its Board of Trustees, which delegates authority and

       responsibilities to others, including the individual Defendants in this case.

       All acts taken by Defendants herein were taken pursuant to color of law.

6.     Defendant Michael Amiridis is the Chancellor of UIC.

7.     Defendant Caryn A. Bills is Associate Chancellor, Office for Access and

       Equity, at UIC.

8.     Defendant Julie M. Spanbauer is Interim Dean of the UIC School of Law.

9.     Defendant Donald Kamm is Director of the Office for Access and Equity at

       UIC.

10.    Defendant Ashley Davidson was from May, 2020 to June, 2021 a Title IX &

       Equity Compliance Specialist in the Office for Access and Equity at UIC.

                                        FACTS

11.    This case arises from a single final examination question propounded by

       Plaintiff to his students, to which one or two student protested, which led to

       a purported investigation by the UIC Office for Access and Equity (“OAE”)

       into (i) the exam question, (ii) remarks by Plaintiff to two individual students

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       related to the protest over that exam question, and (iii) an unrelated series of

       in-class remarks by Plaintiff in a single class session two semesters earlier.

12.    In December, 2020, Plaintiff included on the final exam for his Civil

       Procedure II course a hypothetical employment discrimination scenario in

       which a woman sued because she suspected she had been fired on the basis of

       her race and gender. One question asked students to analyze a piece of

       evidence, an account from a former manager that the manager had “quit her

       job at Employer after she attended a meeting in which other managers

       expressed their anger at Plaintiff, calling her a ‘n____’ and ‘b____’ (profane

       expressions for African Americans and women) and vowed to get rid of her.”

       The question appeared exactly like this, with respectfully expurgated

       references to the racial and gender slurs.

13.    This same question had appeared on Plaintiff’s exam in exactly this way for

       the previous ten years, administered to at least a dozen classes that included

       numerous Black and other non-white students. No one had ever suggested

       the question was objectionable.

14.    On December 21, 2020, the law school dean summoned Plaintiff to an

       electronic meeting (due to COVID restrictions, all meetings at this time were

       held by remote, electronic means). At this meeting, the dean revealed that

       she had been told Plaintiff had “used a racial slur” on his exam, upsetting

       some students. Plaintiff explained that he had not, in fact, “used” the word,

       but had simply included the respectfully expurgated reference in the context

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       of an employment discrimination litigation hypothetical.

15.    Plaintiff spontaneously offered to send a note of regret to his class if those

       oblique references had caused anyone any distress. The dean agreed, and

       Plaintiff sent such a message to his class.

16.    On January 12, 2021, the law school dean summoned Plaintiff to another

       electronic meeting, at which she summarily announced that Plaintiff was

       being placed on “indefinite administrative leave.” All of Plaintiff’s classes

       were cancelled for the entire semester, he was forbidden from coming onto

       campus or from engaging in any university activity, including remote

       electronic activities related to Plaintiff’s university administrative duties,

       and he was prohibited from having even informal meetings of any kind with

       colleagues, staff, students, or even alumni of the school.

17.    Not until two-and-a-half days later, on Friday afternoon, January 14, 2021,

       did the OAE reveal to Plaintiff that the summary suspension was based on a

       conversation he had with a student several days earlier regarding the exam

       question about which some objections had been raised.

18.    A Black male colleague of Plaintiff ’s had suggested that Plaintiff speak with

       a member of the Black Law Students Association about the exam

       controversy. The student, who had not been in Plaintiff’s class, arranged a

       remote electronic conversation at 5:00 p.m. on Thursday, January 7, 2021.

19.    Plaintiff participated in that conversation which was generally cordial and

       constructive, and at one point about an hour into the conversation, the

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       student asked why the law school dean had not shown Plaintiff a student

       petition criticizing his exam question. Plaintiff responded, using the same

       common metaphorical expression he had used in a similar conversation with

       his dean days earlier, that perhaps she had not shared the petition with him

       because she feared that if Plaintiff saw the hateful things said about him in

       that petition, he might “become homicidal.” The conversation continued

       with no indication that the student felt in any way distressed or threatened.

       Plaintiff allowed the conversation to extend over 4 hours, until 9:00 p.m.

20.    It was reported to Plaintiff that on the following Monday, January 11, 2021,

       several students met (electronically) with the law school dean and other UIC

       administrators during which meeting the student with whom Plaintiff had

       spoken misreported that Plaintiff had exclaimed that he “was feeling

       homicidal” or “would become homicidal.” .

21.    The law school dean, along with other defendants, invoked UIC’s Violence

       Prevention Plan to convene a Behavioral Threat Assessment Team (“BTAT”)

       to assess this purported “threat” of imminent physical violence. Without

       communicating with Plaintiff or any other person with firsthand knowledge,

       the BTAT authorized the law school dean to take the most extreme measures.

22.    When he met with OAE, Plaintiff openly admitted the “become homicidal”

       comment; at which time Defendant Bills revealed to Plaintiff that this

       comment was the basis for his summary and previously unexplained

       “indefinite administrative leave.”

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23.    To be cleared of this “indefinite administrative leave,” Plaintiff was required

       to meet physically with university health officials, submit to drug testing,

       and sit for several hours of examination with a nurse, a social worker, and a

       doctor. Plaintiff was released to unrestricted duty (though his classes

       remained cancelled) a few days later.

24.    On January 6, 2021, the Black Law Student Association issued a tweet,

       inviting its followers to complain if they “were affected by Plaintiff past or

       present.” At some point thereafter, several unidentified students reportedly

       approached OAE.

25.    On February 17, 2021, OAE notified Plaintiff that it had commenced an

       investigation into “allegations of race based discrimination and harassment”

       in that Plaintiff had allegedly “created a racially hostile environment for …

       non-white students between January, 2020 and January, 2021, particularly

       during your Civil Procedure II course.”

26.    OAE’s notification of investigation indicated a list of allegations from

       unidentified sources, offering virtually no detail or context.

27.    Plaintiff objected that expecting him to respond to such vague allegations

       from unknown sources, violated his right to due process, but he attempted as

       best he could to respond in writing and at an electronic “investigative

       interview” on February 26, 2021.

28.    Three months later, on May 28, 2021, with no further attempt at

       clarification with or an opportunity for Plaintiff to respond, OAE delivered its

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       “findings letter.” A copy of that letter is attached hereto as Exhibit “A” and

       incorporated by reference as though fully set forth herein.

29.    After concluding that allegations of racial discrimination had not been

       substantiated, OAE concluded that Plaintiff had nonetheless violated the

       harassment aspect of UIC policy because his final exam question and his

       “responses to criticism of the final exam question” had “interfered with Black

       students’ participation in the University’s academic program and therefore

       constituted harassing conduct that violates the Policy.”

30.    OAE never explained how Plaintiff had purportedly violated this policy, as

       the cited policy reads in its material entirety: “The University of Illinois

       System will not engage in … harassment against any person ….” UIC’s

       Nondiscrimination Policy Statement 1100-004. Neither the Statement nor

       any other public source defines or provides any other guidance as to the

       meaning of “harassment” for purposes of this policy.

31.    Nonetheless, OAE purported to find a policy violation on two sets of facts: (1)

       the exam question from December 2020, along with Plaintiff’s private

       remarks to two different students in January 2021 concerning the outcry over

       that exam question; and (2) comments made during a single session of a

       different Civil Procedure II course, which OAE for the first time assigned a

       specific date, January 23, 2020, two semesters earlier.

32.    The details of OAE’s findings remained unclear until six months later, when

       UIC released for the first time, a 24-page OAE “investigative report” dated

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       May 28, 2021, in response to a Freedom of Information Request to UIC from

       a newspaper reporter. Plaintiff received this investigation report, which had

       been prepared by Defendant Davidson, for the first time “as a courtesy” from

       UIC counsel’s office on November 11, 2021.

33.    The investigation report revealed substantial new information about OAE’s

       analysis and findings which had never been submitted to Plaintiff and to

       which he never had an opportunity to respond. It made clear that OAE

       expressly did not find any evidence that Plaintiff had targeted non-white

       students “when discussing topics about Black, Latinx, or Middle Eastern

       culture,” nor did he “diminish or dismiss the perspectives of an African

       female student because of her race as a Black woman and based on her

       accent.”

34.    As to other allegations, most of which had never been revealed to Plaintiff,

       the conclusions in the Report made by Defendant Davidson, were

       demonstrably false.

35.    OAE’s findings letter bases its conclusion of a policy violation in part on a

       very brief reference to “inappropriate, racially-charged comments” in

       Plaintiff’s Civil Procedure II course 16 months earlier, on January 23, 2020.

       All of these conclusions were inaccurate.

       A. OAE asserted that Plaintiff had referred to racial minorities as

       cockroaches, which statement was absolutely untrue. This is plainly revealed

       by reference to the recording of the relevant segment of the class discussion,

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       a true transcript of which is attached hereto as Exhibit “B.”

       B. OAE criticized Plaintiff for referring to “lynching,” but Plaintiff

       immediately retracted the remark and apologized to the class for that choice

       of words.

       C. OAE asserted that Plaintiff had used an “African American Vernacular

       English (“AAVE”) accent when referencing a Black artist’s lyrics,” a matter to

       which Plaintiff was never given an opportunity to respond, which involved a

       single, topic appropriate quote of only a few words, and of which no complaint

       had been made by anyone.

       D. OAE accused Plaintiff of generalizing about minority participation in

       litigation and having admitted to having an “implicit bias” toward Black

       students. These assertions had absolutely no basis in fact and were not

       presented to Plaintiff to give him an opportunity to respond. An email

       exchange revealing the nature of this issue and the student’s satisfied

       response is attached hereto as Exhibit “C.”

36.    OAE’s findings letter further purported to base its conclusion of a policy

       violation on the exam question discussed above, along with two

       communications about that exam question with individual students in

       January, 2021 that OAE asserted “demonstrated racial insensitivity and

       even hostility to those voicing concerns about a racially charged topic.” These

       assertions are false; OAE’s contentions were never presented to Plaintiff, and

       they are unsupported by the facts.

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        A. OAE accused Plaintiff of expressing “anger and displeasure with students’

        objections in a manner that created retaliation concerns for Black students”

        by sending an email to a white former student on January 4, 2021. This

        finding was not presented to Plaintiff to give him an opportunity to respond,

        and it was a deliberate misrepresentation of the contents of Plaintiff’s email,

        and the recipient’s reaction, which he provided voluntarily on his own

        initiative to OAE. OAE deliberately excluded Plaintiff’s statements in this

        email that were contrary to OAE’s conclusions, such as that his “heart is

        absolutely broken by” the objections to his exam question and his expression

        of support for all students, including those expressing concern about the

        exam question. The full text of this email exchange with the white former

        student is attached hereto as Exhibit “D.”

        B. OAE asserted that the use of the single word “homicidal” in a four hour

        conversation at the invitation of another student on the evening of January 7,

        2021, from Plaintiff’s home computer “created fear and intimidation that

        were reasonably interpreted as such.” These findings are false and belied by

        the facts.

37.     On June 18, 2021, Plaintiff met with Defendant Spanbauer to discuss this

        hotly disputed case, which Plaintiff warned would lead to litigation if they

        could not agree on a compromise resolution. At this meeting, Plaintiff agreed

        that someone from the law school could review his class recordings (as all law

        school classes are recorded) and mention if any instance of potential “racial

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        harassment” presented itself, and he agreed to report to the dean before

        responding to any race-related student complaint.

38.     Plaintiff strenuously objected to any required participation in sensitivity

        training on Plaintiff’s supposed “white privilege” and engagement with

        diverse students. He asserted that such training was both unwarranted and

        unconstructive, as multiple studies had recently demonstrated.

39.     On July 2, 2021, Defendant Spanbauer delivered her final resolution. She

        accepted Plaintiff’s proposed compromise on sensitivity training, agreeing

        that such training might be mandated only if four semesters of review of

        class recordings revealed that Plaintiff had failed to maintain a non-

        harassing classroom environment. Plaintiff accepted this resolution to avoid

        a lawsuit. A copy of that letter is attached hereto as Exhibit “E” and

        incorporated by reference as though fully set forth herein.

40.     Reneging on this agreed settlement arrangement, Defendant Spanbauer

        subsequently imposed two surprise punishments on Plaintiff emanating from

        OAE’s findings.

41.     First, despite Plaintiff’s glowing and exceptional performance review, and

        without warning of any kind, Defendant Spanbauer informed Plaintiff on

        September 6, 2021, that he was “ineligible” for an announced across-the-

        board 2% “merit raise.” The sole basis for this punishment was OAE’s finding

        of a policy violation. Defendant Spanbauer claimed—for the first time, and

        contrary to Plaintiff’s glowing performance evaluation—that he had failed to

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        meet “General Teaching Expectations” requiring all faculty to “act in a

        collegial manner toward each other, and act with appropriate dignity and

        respect toward … students.”

42.     Plaintiff’s counsel sent a demand letter to the school on September 16,

        2021, which Defendant has acknowledged, but to which it has never

        responded. A copy of that letter is attached hereto as Exhibit “F” and

        incorporated by reference as though fully set forth herein.

43.     Then, on November 12, 2021, at 4:15 pm,, Defendant Spanbauer notified

        Plaintiff that he would be required to undergo the very sensitivity training

         that she had promised not to impose in her letter of July 2. Indeed,

        though she asserted that more information about scheduling the training

        would be forthcoming, she insisted that this training be completed within

        less than one month, before December 10, over the Thanksgiving holiday,

        in a period during which Plaintiff was scheduled for surgery. A copy of that

        letter is attached hereto as Exhibit “G” and incorporated by reference as

        though fully set forth herein.

44.     Disregarding their own arbitrary deadline, Defendants delayed for more

        than a month while purporting to decide what sort of training mandate to

        impose on Plaintiff.

45.     On December 17, 2021, Plaintiff was finally informed that he was to be

        summarily suspended from teaching for the entire Spring, 2022

        semester—again with no hearing or prior notice. His Bankruptcy class was

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        cancelled, and his Secured Transactions class was reassigned to another

        professor with no experience teaching the course.

46.     At that time, Defendants declared that Plaintiff would be subjected to an 8-

        week diversity course—20 hours of course work, required “self-reflection”

        papers for each of 5 modules, plus weekly 90-minute sessions with a trainer

        followed by three more weeks of vaguely described supplemental meetings

        with this trainer. The trainer would provide “feedback regarding Professor

        Kilborn’s engagement and commitment to the goals of the program.” Only

        upon satisfactory completion of this program would Plaintiff be allowed to

        return to class in Fall, 2022.

                                         COUNT I

            Violation of the First and Fourteenth Amendments

47.     The University of Illinois is a public institution, bound by the First

        Amendment via the Fourteenth Amendment, as well as related state law,

        which prohibits the punishment, prohibition, and/or compulsion of speech.

48.     Indeed, the University of Illinois System’s Guiding Principles at the very

        beginning explicitly ensure an “unyielding allegiance to freedom of speech –

        even controversial, contentious, and unpopular speech” and pledge that

        “protected speech cannot be prohibited or punished.”

49.      Defendants have purported to punish Plaintiff for speech that expresses

        “anger, dissatisfaction, and disappointment related to issues of race” or that

        “demonstrate[s] racial insensitivity and even hostility to those voicing

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        concerns about a racially-charged topic.” This is a plainly unlawful, content-

        based restriction on speech.

50.     The sensitivity training which Defendants have imposed upon Plaintiff also

        violates the First Amendment, as it compels Plaintiff to express his

        “commitment to the goals of the program” in order to be released back to

        teaching, even if he disagrees with the content and purpose of this diversity

        training.

51.     Plaintiff’s exam question and in-class discussions are plainly protected

        educational speech.

52.     The few remarks to two individual students were neither intended nor

        expected to reach beyond those two participants, and nothing said to either of

        them could reasonably be perceived as a “true threat” or “pervasive

        harassment.” These statements are all protected speech.

53.     Nothing stated by Plaintiff to any of his students expressed any anger;

        rather, if anything, it expressed pain and heartbreak, and it nonetheless

        emphasized that Plaintiff has not criticized any of his students and continued

        to welcome all students, regardless of their race or background. .

54.     Nothing stated by Plaintiff can even remotely be construed as a “true threat.”

55.     Punishing or otherwise sanctioning Plaintiff under color of state law on the

        basis of his speech, and compelling him to adopt speech with which he

        disagrees, violates the First and Fourteenth Amendments and UIC’s own

        Guiding Principles.

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                                       COUNT II

              Violation of University of Illinois Statutes

56.     UIC is governed by the University of Illinois Statutes, as promulgated by

        authority of the Illinois General Assembly under the University of Illinois

        Act, 110 ILCS 305.

57.     Article X, Section 2(a) of the Statutes pledges to “protect all members of the

        academic staff against influences, from within or without the University of

        Illinois System, which would restrict the member’s exercise of these freedoms

        in the member’s area of scholarly interest.” It establishes that this freedom

        “includes the right to discuss and present scholarly opinions and conclusions

        both in and outside the classroom.”

58.     OAE’s investigation report asserts “OAE does not address or make

        determinations regarding the extent that academic freedom principles may

        apply to the facts at issue in this investigation. Instead, OAE considers

        whether, based on the totality of the circumstances, racial discrimination or

        racial harassment occurred …..”

59.     Since academic freedom protects Plaintiff’s speech, that speech cannot

        lawfully be found to violate OAE’s policy in a way that could lead to the

        punishments meted out to Plaintiff.

60.     Plaintiff has the right to advance his pedagogical goals as he sees fit within

        the confines of state and federal anti-discrimination law. Nothing he did or

        said violates any law; therefore, neither OAE or any of the defendants can

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        lawfully arrogate to themselves the power to declare that Plaintiff cannot

        teach his course as he sees fit.

61.     OAE’s report indicates that its investigation and its conclusions disregarded

        and consequently violated Plaintiff’s rights to academic freedom, as has the

        action of defendants in taking punitive action against Plaintiff based upon

        that report.

                                       COUNT III

               Violation of the Fifth and Fourteenth Amendments

62.     The process of investigating and sanctioning Plaintiff’s speech here involved

        a series of violations of due process, equal protection, and lack of adequate or

        fair notice.

63.     OAE’s factual conclusions are clearly erroneous and demonstrate an

        intentional failure to provide Plaintiff with an opportunity to respond to the

        accusations it has made against him.

64.     Prior to each of the two summary suspensions from teaching, Plaintiff was

        afforded no process of any kind.

65.     These shortcomings constitute violations of Plaintiff’s rights under the Fifth

        and Fourteenth Amendments to fair notice, due process, and equal

        protection.

66.     The conclusion that Plaintiff violated UIC’s Nondiscrimination Policy

        Statement 1100-004 is based upon a single operative word, “harassment,”

        which is not defined in any way which has given Plaintiff no notice or

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        guidance on the content of this policy or the kind(s) of conduct it purports to

        proscribe.

67.     The due process principle of clarity is especially demanding, and a more

        stringent vagueness test applies, when First Amendment freedoms are at

        stake, as in this case; any claim that Plaintiff has violated any

        nondiscrimination policy violates due process and is void for vagueness.

68.     The finding by OAE that Plaintiff is guilty of “harassment” is based upon an

        assertion which is hidden from Plaintiff and is arbitrary and capricious and,

        as OAE admits, “is broader than applicable law.” Such an admission runs

        afoul of both the federal and state protections of free speech, due process and

        equal protection.

69.     Punishing Plaintiff for violation of a policy with no stated substance and no

        advance notice or guidance is an arbitrary and capricious abuse of authority.

        Such abuse undertaken under color of state law violates Plaintiff’s

        constitutional rights to fair notice and due process.

70.     The allegations presented to Plaintiff were so vague as to be impossible to

        respond to, no specific time period was identified, and no specific facts giving

        rise to many of the allegations were offered. Plaintiff was given no

        opportunity to advance any reasonable defense because he was not given any

        specific dates or fact scenario to which he was to respond until OAE’s

        conclusions were released, long after punishment had been imposed on

        Plaintiff. OAE never confronted Plaintiff with its purported evidence or

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        allowed him to present an explanation or defense.

71.     The conclusions OAE drew from its review of the documentary evidence are

        so clearly erroneous and biased as to constitute due process violations

        themselves.

72.     Defendant Davidson frequently ignored aspects of this evidence that plainly

        contradicted her foregone conclusion, and she misrepresented other facts.

73.     OAE’s clearly erroneous and biased investigation and fact findings,

        undertaken under color of state law and without notice to Plaintiff violate his

        rights to due process.

74.     As a result of the foregoing actions against him, Plaintiff has suffered

        humiliation, indignity and mental agony, and his professional reputation has

        been egregiously damaged, and he has been required to retain counsel to

        assist him in defending his constitutional rights which have been egregiously

        violated by Defendants.

                                       COUNT IV

                Violation of the Illinois Violence Prevention Plan

75.     The actions taken against Plaintiff by Defendants was a gross violation of

        UIC’s Violence Prevention Plan, in the following respects:

        A. Defendants failed to make a fact-based assessment and case specific

        evidence-based solution built upon communication, as required by Paragraph

        3.2 of the plan, in that it refused to communicate with Plaintiff at all before

        barring him from campus,

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          B. Defendants failed to apply “common-sense behavioral thresholds” before

          taking action against Plaintiff, as required by Paragraph 4.2 of the Plan.

          C. Defendants failed to identify and weigh mitigating factors as required by

          Paragraph 5.2.3, of the Plan before taking action against Plaintiff.

          D. Defendants failed to consider how the decisions, actions and delivery of

          threat management requirements may impact the life of the person against

          whom action is taken, as required by paragraph 5.4 of the Plan.

76.       As a result of Defendants’ violation of the provisions of the Violence

          Prevention Plan, Plaintiff was forced to come physically to campus, exposing

          himself to COVID and undergo two days of invasive drug testing and several

          hours of mental examination, none of which was appropriate or called for by

          the provisions of the Plan which were ignored by defendants.

77.       These actions turned Plaintiff’s life upside down and caused him severe

          emotional damage due to this summary and unexplained banishment from

          having any contact with others at UIC.

          WHEREFORE, Plaintiff Jason J. Kilborn respectfully requests that this

Court enter judgment in his favor and against Defendants and provide the following

relief:

          A. Issue a preliminary injunction preventing Defendants from enforcing the

mandated 8-week sensitivity training program, which is suggested to begin on

January 22, 2022;

          B. Enter a declaratory judgment that Defendants’ punishment and

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compulsion of Plaintiff’s speech violates the First, Fifth, and Fourteenth

Amendments as well as the University of Illinois Statutes, along with an order of

specific performance requiring Defendants to abide by their contractual obligations

of freedom of speech and academic freedom to Plaintiff under the University of

Illinois Statutes;

       C. Issue a permanent injunction barring Defendants from enforcing the anti-

discrimination policy in a way that violates faculty and student rights under the

First, Fifth, and Fourteenth Amendments and the University of Illinois Statutes;

       D. Award to Plaintiff compensatory and punitive damages against

Defendants for their violations of his rights and consequent harm inflicted upon his

person and property in an amount of not less than One Hundred Thousand Dollars

($100,000).

       E. Award to Plaintiff his reasonable costs and expenses of this action,

including attorney’s fees, in accordance with 42 U.S.C. §1988 and all other

applicable laws; and

       F. Award to Plaintiff all other and further relief to which the Court finds

Plaintiff is entitled.

                                        Respectfully submitted,

                                        /s/ Wayne B. Giampietro

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